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 4   Telephone: (559) 497-4000
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 8                              IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          )   CASE NO. 1:07-CR-00272 LJO
                                                        )
12             Plaintiff,                               )
                                                        )
13   v.                                                 )   STIPULATION TO CONTINUE
                                                        )   SENTENCING AND PROPOSED ORDER
14   LARRY DONNELL JONES,                               )
                                                        )
15             Defendants.                              )
                                                        )
16                                                      )
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19
20          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
21   counsel, James R. Terzian, Assistant United States Attorney for Plaintiff, and Robert Rainwater,
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               Case 1:07-cr-00272-LJO Document 87 Filed 10/27/09 Page 2 of 2


 1   Attorney for Defendant, LARRY DONNELL JONES, that Sentencing hearing currently scheduled for
 2   October 30, 2009, at 9:00 a.m. may be continued to January 29, 2010, at 9:00 a.m.
 3
 4                                                        LAWRENCE G. BROWN
                                                          United States Attorney
 5
 6
     DATED: October 26, 2009                      By        /s/ JAMES R. TERZIAN
 7                                                        JAMES R. TERZIAN
 8
 9   DATED: October 26, 2009                      By        /s/ ROBERT RAINWATER
                                                          ROBERT RAINWATER
10                                                        Attorney for Defendant,
                                                          LARRY DONNELL JONES
11
                                                     ORDER
12
              IT IS HEREBY ORDERED, that the Sentencing Hearing currently scheduled for October 30,
13
     2009, at 9:00 a.m. is continued to January 29, 2010, at 9:00 a.m.
14
     IT IS SO ORDERED.
15
     Dated:      October 27, 2009                    /s/ Lawrence J. O'Neill
16   b9ed48                                      UNITED STATES DISTRICT JUDGE
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